Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 1 of 19 Page ID #:1



 1   John P. Schnurer, Bar No. 185725
     JSchnurer@perkinscoie.com
 2   Yun (Louise) Lu, Bar No. 253114
     LLu@perkinscoie.com
 3   PERKINS COIE LLP
     11988 El Camino Real, Suite 350
 4   San Diego, CA 92130-2594
     Telephone: 858.720.5700
 5   Facsimile: 858.720.5799
 6   Attorneys for Plaintiff
     LUCENT ELECTRONIC CO., INC.
 7
 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   LUCENT TRANS ELECTRONIC               Case No. 2:18-cv-18-8638
     CO., INC.
12                                         COMPLAINT FOR:
                      Plaintiff,
13                                         (1) BREACH OF CONTRACT
           v.
14                                         (2) ANTICIPATORY BREACH
     FOREIGN TRADE CORPORATION
15   D/B/A TECHNOCEL, TYLT INC.,           (3) PROMISSORY ESTOPPEL
     RAMIN ROSTAMI, and DOES 1
16   through 10, inclusive,                (4) UNJUST ENRICHMENT
17                    Defendants.          (5) FRAUDULENT
                                               MISREPRESENTATION/
18                                             INDUCEMENT
19                                         (6) NEGLIGENT
                                               MISREPRESENTATION
20
                                           (7) FRAUDULENT TRANSFER
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Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 2 of 19 Page ID #:2



 1         Plaintiff Lucent Trans Electronic Co., Inc. (“Lucent”), a Taiwan corporation,
 2   for its Complaint against Foreign Trade Corporation d/b/a Technocel
 3   (“Technocel”), TYLT Inc. (“TYLT”), Ramin Rostami (“Rostami”) and DOES 1
 4   through 10 (collectively, “Defendants”), respectfully submits the following and
 5   alleges as follows:
 6                              NATURE OF THIS ACTION
 7         1.     This action seeks money damages against Defendants, who acted as
 8   alter egos and a single enterprise to defraud Lucent to manufacture and supply
 9   power chargers to Defendants, but wrongly did not pay for those power chargers
10   ordered and/or received from Lucent.
11         2.     Lucent seeks recovery of amounts owed for those chargers, and, herein
12   asserts causes of action for breach of contract, anticipatory breach, promissory
13   estoppel, unjust enrichment, fraudulent and negligent misrepresentation, fraudulent
14   inducement, and fraudulent transfer. These claims against some of the Defendants
15   are based on alter-ego liability and piercing the corporate veil.
16         3.     Lucent also seeks to recover litigation costs, investigative costs, pre-
17   judgment and post-judgment interests, attorneys’ fees and punitive damages from
18   Defendants. Lucent further seeks recovery of assets and money transferred from
19   Technocel to TYLT when Technocel was insolvent under California Civil Code §§
20   3439.02, 3439.04 & 3439.05, and a preliminary and permanent injunction against
21   Defendants from them further disposing or dissipating any of the funds transferred
22   from Technocel.
23                                         PARTIES
24         4.     Plaintiff Lucent is incorporated under the laws of Republic of China,
25   Taiwan, with its principal place of business in 9F-1, No. 16, Chien Pah Road,
26   Chung Ho District, New Taipei City, Taiwan. Lucent manufactures cellular phone
27   accessories and computer peripherals, including power chargers. Founded in 1990,
28   Lucent has nearly thirty years of experience and know-how in switching power
     COMPLAINT FOR BREACH                     -1-
     OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 3 of 19 Page ID #:3



 1   supply, power chargers, multimedia, IP Camera and computer peripherals. Lucent
 2   sells power chargers worldwide, including North and South Americas, Europe,
 3   Russia, the Middle East and Asia.
 4         5.     Defendant Foreign Trade Corporation d/b/a Technocel is a California
 5   corporation, having its principal place of business in 685 Cochran Street, Suite 200,
 6   Simi Valley, California. Technocel is an international distributor of wireless
 7   accessories, including power chargers.
 8         6.     Defendant TYLT is a Delaware corporation, incorporated on June 7,
 9   2017. TYLT and Technocel share the same principal place of business. TYLT
10   holds itself out as merely a different name for Technocel, and, thus, is Technocel’s
11   alter ego.
12         7.     Defendant Ramin Rostami (“Mr. Rostami”) is a California resident
13   and holds executive positions at Technocel including Chief Executive Officer
14   (“CEO”) and Chief Financial Officer (“CFO), while his wife, Fariba Rostami, is
15   Secretary. Mr. Rostami has held himself personally liable for the amount
16   Technocel owes Lucent for the power chargers supplied to Technocel, as he should,
17   given he is Technocel’s alter ego. Mr. Rostami is also the sole shareholder of
18   TYLT and his capital contribution is $5,000, which is inadequate as described
19   herein. On information and belief, Mr. Rostami is TYLT’s alter ego.
20         8.     Lucent does not know the true names and capacities of the defendants
21   sued as DOES 1 through 10, inclusive, and, therefore, sues these defendants by
22   such fictitious names. Lucent will amend this Complaint to allege the true names
23   and capacities of DOES 1 through 10, inclusive, when ascertained.
24                             JURISDICTION AND VENUE
25         9.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332,
26   as there is diversity of citizenship between the parties, and the amount in
27   controversy exceeds $75,000, exclusive of interest and costs.
28
     COMPLAINT FOR BREACH                      -2-
     OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 4 of 19 Page ID #:4



 1          10.   Venue is proper under 28 U.S.C. § 1391(b)(1) as all Defendants reside
 2   in this judicial District. Venue is also proper pursuant to 1391(b)(2) because a
 3   substantial part of the events or omissions giving rise to the claims occurred in this
 4   district.
 5                              FACTUAL BACKGROUND
 6   A.     Defendants’ Contracts and Transactions with Lucent
 7          11.   Starting in April 1999 and continuing through at least November 2017,
 8   Lucent and Technocel entered into a series of contracts (“Contracts”) and engaged
 9   in a course of practice where Technocel would issue purchase orders to Lucent for
10   power chargers, Lucent would manufacture and supply those power chargers
11   pursuant to the terms specified in Technocel’s purchase orders, and Lucent would
12   then submit invoices to Technocel for those power chargers, which included a
13   payment term as net 60 days after delivery. Until December 2016, Technocel
14   would pay the invoiced amount pursuant to the payment term of invoices delivered
15   to Technocel for the supplied power chargers.
16          12.   Beginning on or about December 2016, Technocel failed to pay the
17   invoiced amount pursuant to the payment term of the invoices delivered to
18   Technocel. As of May 31, 2017, past-due invoices amounted to $2,672,057.
19   Between June to November 2017, Technocel continued ordering power chargers
20   from Lucent totaling around $5.786 million in value, which Lucent timely delivered
21   to Technocel and subsequently invoiced Technocel for that amount.
22          13.   To induce Lucent to continue shipping power chargers to Technocel,
23   Mr. Rostami agreed to pay the amount Technocel owed Lucent in installments. For
24   example, on around February 15, 2017, Mr. Rostami agreed to pay Lucent in
25   weekly installments of $153,000, which Technocel then paid until around July
26   2017. On around August 2, 2017, Mr. Rostami promised to pay Lucent an
27   increased amount for the weekly installments-- $200,000 instead of $153,000.,
28   which Technocel then paid until around November 2017. On or about December 1,
     COMPLAINT FOR BREACH                   -3-
     OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 5 of 19 Page ID #:5



 1   2017, Mr. Rostami informed Lucent that he could increase the weekly installments
 2   by an additional $200,000, where the $200,000 would be paid by TYLT in addition
 3   to the $200,000 paid by Technocel for the past-due invoices, but the additional
 4   $200,000 payment from TYLT occurred only once.
 5         14.   On or about November 15, 2017, Ms. Merry Liu, from a company
 6   named NewAsiaGroup, which, on information and belief, is an affiliate of
 7   Technocel and TYLT and was examining the Lucent power chargers delivered to
 8   Technocel in China, sent an e-mail to Lucent, stating: “[p]lease kindly note we will
 9   no longer use ‘Technocel’ as the name of the company[.] Technocel will be
10   changed to ‘TYLT[.]’”
11         15.   On or about December 15, 2017, Ms. Christina Valenzuela, on
12   information and belief an employee of both FTC and TYLT, subsequently
13   confirmed NewAsiaGroup’s statement that the new name for Technocel would be
14   TYLT. Later, on several occasions, Technocel and TYLT requested Lucent to send
15   invoices to TYLT for purchase orders originally placed under the name of
16   Technocel. Since then, in reliance on these representations, Lucent shipped power
17   chargers to TYLT, and invoiced TYLT for those power chargers.
18         16.   Eventually, on or about January 4, 2018, Mr. Rostami informed Lucent
19   that the amount Technocel owed to Lucent for the power chargers supplied to
20   Technocel would be paid by TYLT in weekly installments of $100K, but only after
21   TYLT had received payment from its customers. Specifically, Mr. Rostami’s e-
22   mail stated: “[We] have closed Technocel and it’s going through a company that
23   will sell assets and divide between creditors … therefore we [cannot] pay anymore
24   from Technocel, but the company will send payments as soon as they liquidate
25   everything … in the next 90 days.” Mr. Rostami’s e-mail continued: “[I]n the
26   [meantime], we can pay from TYLT … but since TYLT is new, we can pay $100k
27   per week, until new payments come in from customers. So I have told accounting
28   to pay $100k to Lucent from TYLT in Jan.” In the same e-mail, Mr. Rostami
     COMPLAINT FOR BREACH                  -4-
     OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 6 of 19 Page ID #:6



 1   indicated “I’ve put one of the buildings we have for sale and as soon as I sell it, I
 2   can send more payments from TYLT to Lucent. Please let Steve know not to
 3   worry, as I promised him, I will pay what is owed on Technocel side to him
 4   myself.” The “Steve” identified in Mr. Rostami’s e-mail is Steve (Chih-Hung)
 5   Cheng, President of Lucent.
 6         17.     In reliance on Mr. Rostami’s e-mail of January 4, 2018, and
 7   subsequent correspondence from both Mr. Rostami and Paging Yang, on
 8   information and belief, an employee of both TYLT and Technocel, that Lucent’s
 9   invoices for the supplied power chargers will be paid, Lucent continued shipping
10   power chargers to TYLT in fulfillment of TYLT’s purchase orders. TYLT’s
11   payment of invoices for TYLT’s purchase orders, however, were often made after
12   the 60-day payment term. As a result, in May 2018, Steve Cheng reminded Mr.
13   Rostami of Lucent’s 60-day payment term.
14         18.     From late May to early June 2018, Mr. Rostami reassured Lucent that
15   TYLT would be funded by loans. In early June 2018, Mr. Rostami e-mailed Lucent
16   stating “[M]y family has money in Europe and we are trying to transfer some funds
17   from Europe to Steve’s daughter this month as well.”
18         19.     On July 3, 2018, Ms. Paging Yang, through her Technocel e-mail
19   account, e-mailed Lucent: “[all] payments we did since Dec of 2017 should pay
20   towards TYLT. By US law we cannot touch Technocel’s account. What we owe
21   under Technocel is between Rami and Steve by separate agreement in private. …
22   I’ll provide a solid payment plan for you for future payments.” Ms. Paging Yang
23   also repeatedly requested Lucent to fulfill TYLT’s most recent purchase orders of
24   power chargers by July 11, 2018; otherwise, TYLT would lose business or incur a
25   heavy fine.
26         20.     On July 10, 2018, Mr. Rostami confirmed via e-mail he would pay
27   $700,000 from his family funds for the amount Technocel owed to Lucent, and that
28   “[t]he 700k is agreement between Steve and I for pass [sic] due invoices from the
     COMPLAINT FOR BREACH                   -5-
     OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 7 of 19 Page ID #:7



 1   past and does not have do anything with TYLT.” While Mr. Rostami promised to
 2   pay $700,000 of the remaining amount of past-due invoices to Technocel using his
 3   family funds, Mr. Rostami only caused a partial payment of this amount to be made
 4   to Lucent, and not from Mr. Rostami, himself, but from TYLT.
 5         21.    On or about July 22, 2018, Steve Cheng e-mailed Mr. Rostami again
 6   requesting payment for the past-due invoices to Technocel and TYLT. In reply on
 7   that same day, Mr. Rostami stated “[t]here will be no further payments, and no
 8   more business together.” In the same e-mail, Mr. Rostami indicated he had
 9   borrowed and paid Lucent over $3.5 million over the year, including $500k two
10   weeks ago. While not having sufficient information regarding Mr. Rostami’s
11   borrowing money, Lucent was repeatedly told by Mr. Rostami that he would be
12   responsible for the outstanding balance owed by Technocel and TYLT, as described
13   herein.
14         22.    Because of Mr. Rostami’s statements in his July 22, 2018 reply to
15   Steve Cheng, Lucent ceased manufacturing power chargers in fulfillment of six
16   purchase orders from TYLT, and did not ship to TYLT the power chargers that
17   Lucent had already manufactured, which amounts to $1,663,112 in value.
18         23.    As of the filing of this Complaint, TYLT has paid Lucent $3,246,582,
19   of which $2,238,652 was for payment of invoices issued to TYLT, and $1,007,390
20   was for invoices issued to Technocel. Lucent has still not been paid $2,408,259 for
21   power chargers Lucent supplied and invoiced to Technocel, in addition to
22   $1,663,112 for power chargers Lucent manufactured pursuant to the six purchase
23   orders from TYLT. Because those manufactured power chargers were customized
24   to TYLT’s specifications (e.g., printing TYLT’s logo on the products), Lucent is
25   not able to resell them to any other customers.
26         24.    As of the filing of this Complaint, on information and belief,
27   Technocel has not filed for bankruptcy.
28
     COMPLAINT FOR BREACH                      -6-
     OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 8 of 19 Page ID #:8



 1   B.    Allegations related to Alter Ego/Veil Piercing Liability
 2         25.    On information and belief Mr. Rostami is an officer, director and sole
 3   shareholder of both Technocel and TYLT, and Technocel and TYLT have failed to
 4   follow and have not observed corporate formalities. Mr. Rostami uses Technocel
 5   and TYLT as a mere instrumentality of himself, and commingles funds among
 6   Technocel, TYLT and himself. For instance, Mr. Rostami and his employees
 7   commingled the commercial transactions and obligations of TYLT and Technocel,
 8   by, for example, placing purchase orders to Lucent under the name of Technocel
 9   and then requesting Lucent to address its invoices to TYLT; and arbitrarily
10   distributing payments between Lucent’s invoices to Technocel and TYLT. Further,
11   Mr. Rostami held himself liable to Lucent for payment of Lucent’s invoices to at
12   least Technocel to induce Lucent to continue to fulfill purchase orders issued by
13   Technocel and TYLT by stating he would use his family’s funds to satisfy part of
14   the debt. The power chargers supplied by Lucent benefited Mr. Rostami,
15   Technocel and TYLT.
16         26.     As the sole shareholder of both entities, Mr. Rostami believes he may
17   use Technocel and TYLT’s corporate status to avoid liability for Lucent’s unpaid
18   invoices to Technocel and TYLT, despite the foregoing and his prior promises that
19   he would be personally liable for and would pay Lucent’s invoices to Technocel
20   and TYLT in order to induce Lucent to continue to fulfill purchase orders for power
21   chargers that he sought to sell or already sold to his customers. Thus, a unity of
22   interest and a single enterprise relationship exists among Mr. Rostami, Technocel,
23   and TYLT.
24         27.    On information and belief, both Technocel and TYLT were and
25   continue to be undercapitalized. Prior to June 2017, Technocel already owed
26   Lucent around $2.672 million and, at least, another power charger supplier,
27   Salcomp PLC (“Salcomp”), in excess of $2.9 million. Within a year after TYLT’s
28   formation, TYLT had ordered power chargers from Lucent totaling over $2.238
     COMPLAINT FOR BREACH                 -7-
     OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 9 of 19 Page ID #:9



 1   million. According to the Delaware Secretary of State Filing, a true and correct
 2   copy of which is attached hereto as Exhibit A, TYLT had $5,000 in capital at the
 3   time of its formation in July 2017, and, on information and belief, that
 4   capitalization remained the same during at least the first year after TYLT’s
 5   formation. This capital contribution is insufficient considering, at least the volume
 6   of TYLT’s purchases and sales, and annual tax assessment. The Filing shows that
 7   TYLT’s annual tax assessment for 2018 is $200,000.
 8         28.    During all relevant time periods, Technocel and TYTL shared the
 9   same corporate address, 685 Cochran Street. See California Secretary of State
10   Statement for TYLT, a true and correct copy of which is attached hereto as Exhibit
11   B; and California Secretary of State Statement for FTC (Technocel), a true and
12   correct copy of which is attached hereto as Exhibit C. Further, during all relevant
13   time periods, TYLT and Technocel shared the same employees, who held
14   themselves as employees of both entities, including at least Paging Yang (who
15   managed processing invoices from suppliers), David Yeh (who managed processing
16   purchase orders), and Christina Valenzuela (who managed bookkeeping and
17   accounting). On information and belief, Merry Liu at NewAsiaGroup also worked
18   for both Technocel and TYLT (beyond her employment with NewAsiaGroup,
19   which, on information and belief, is an affiliate with Technocel, TYLT and Mr.
20   Rostami).
21         29.    Moreover, Mr. Rostami and employees at TYLT have held themselves
22   out as an alter ego of Technocel, for example, by representing to Lucent that
23   Technocel no longer uses “Technocel” as the name as it will be changed to
24   “TYLT.”
25         30.    During all relevant time periods, Mr. Rostami controlled and managed
26   both Technocel and TYLT, and thus exercised control over the finances and
27   business practices which relate to Lucent’s claims herein, and he delayed and
28   prevented payment of Lucent’s invoices for power chargers supplied to Technocel
     COMPLAINT FOR BREACH                   -8-
     OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 10 of 19 Page ID #:10



  1   and TYLT. In addition, Mr. Rostami actively participated in corporate affairs of
  2   both Technocel and TYLT by communicating with Lucent regarding its invoices to
  3   Technocel and TYLT and payment of those invoices.
  4         31.    Lucent has performed pursuant to the Contracts of the parties, but
  5   Defendants have refused to tender payment of Lucent’s unpaid invoices to
  6   Technocel and TYLT, and for the power chargers that had been manufactured prior
  7   to TYLT’s termination of its six purchase orders to Lucent.
  8         32.    On information and belief, Mr. Rostami has fraudulently transferred
  9   substantially all of Technocel’s assets to TYLT through third-party Insolvency
 10   Services Group (“ISG”) under a General Assignment. On information and belief,
 11   Technocel and TYLT were, at all times controlled and managed by the same
 12   shareholder, Mr. Rostami, who caused Technocel to transfer most of its assets to
 13   TYLT to maintain TYLT’s business operations.
 14         33.    On information and belief, Mr. Rostami, without regard to the interests
 15   of Technocel and its creditors, and at a time when Technocel was insolvent,
 16   transferred its assets to TYLT so he could remain in the business. Mr. Rostami’s
 17   manipulations of the affairs of the corporations were designed to foster his own
 18   purposes and operated to the disadvantage of Technocel and its creditors.
 19         34.    On information and belief, Mr. Rostami formed TYLT in June 2017 as
 20   a vehicle to avoid liabilities incurred by Technocel, so that he could continue in the
 21   business of distributing power chargers. As stated above, Technocel already
 22   accumulated over five million on unpaid invoices to at least Salcomp and Lucent.
 23         35.    In early January 2018, Mr. Rostami informed Lucent that he was
 24   closing (or winding down) Technocel. On January 9, 2018, Technocel transferred
 25   substantially all its assets to ISG as the assignee - under a General Assignment
 26   effectuating an assignment for the benefit of creditors as defined in Section 493.010
 27   of the California Code of Civil Procedure and under California common law.
 28
      COMPLAINT FOR BREACH                      -9-
      OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 11 of 19 Page ID #:11



  1   (2:17-cv-07807 (D.E. 34, 1:1-24).) Not long after the assignment, ISG effected a
  2   sale of Technocel’s assets to TYLT. (Id. (D.E. 55, 2:12-16).)
  3         36.    On information and belief, the transfer of Technocel’s assets to TYLT
  4   was done to escape liability resulting from Technocel’s operations, and results in an
  5   inequity should Technocel’s corporate veil not be pierced to impose liability on its
  6   shareholders, including at least Mr. Rostami.
  7         37.    By virtue of Mr. Rostami’s exercise of complete control of Technocel
  8   and TYLT’s business practices and finances, and his use of undercapitalized
  9   Technocel and TYLT as a mere instrumentality to avoid making payments owed to
 10   Lucent, Mr. Rostami, who owns and controls Technocel and TYLT, should be held
 11   jointly and severally liable for any obligations of Technocel and TYLT to Lucent
 12   through the doctrines of alter ego and/or single enterprise liability and piercing the
 13   corporate veil.
 14                                        COUNT I
                                      (Breach of Contract)
 15
            38.    Lucent incorporates by reference each and every allegation set forth in
 16
      the preceding paragraphs as though fully set forth herein.
 17
            39.    From January 2017 to May 2018, Defendants issued a total of 77
 18
      purchase orders to Lucent, which were all accepted by Lucent. This resulted in
 19
      valid and enforceable Contracts between Lucent and Defendants, for good and
 20
      valuable consideration.
 21
            40.    Lucent performed its obligations under the Contracts, except those
 22
      conditions, covenants and obligations excused by Defendants’ breach.
 23
            41.    Defendants materially breached their obligations under the Contracts
 24
      by failing to pay Lucent for the power chargers Defendants received and/or ordered.
 25
            42.    As a direct and proximate result of Defendants’ breach, Lucent has
 26
      been damaged and continues to suffer damages.
 27
 28
      COMPLAINT FOR BREACH                      -10-
      OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 12 of 19 Page ID #:12



  1         43.    There is due and owing from Defendants to Lucent the principle sum
  2   of not less than $4,506,381, representing the contract price of the power chargers
  3   Defendants ordered.
  4         44.    Lucent is entitled to interest on the foregoing amount and to such
  5   additional sums to be determined at trial as Lucent may be required to incur as a
  6   proximate cause of Defendants’ breach.
  7                                       COUNT II
  8                                  (Anticipatory Breach)
  9         45.    Lucent incorporates by reference each and every allegation set forth in
 10   the preceding paragraphs as though fully set forth herein.
 11         46.    Between on or about March 20, 2018 to on or about May 16, 2018,
 12   TYLT issued a total of six purchase orders to Lucent, which were all accepted by
 13   Lucent. This resulted in valid and enforceable Contracts between Lucent and
 14   Defendants, for good and valuable consideration.
 15         47.    Lucent manufactured all of the ordered chargers, but on or about July
 16   23, 2018, Mr. Rostami through TYLT and Technocel manifested an unequivocal
 17   intention to breach the parties’ Contracts.
 18         48.    Defendants’ repudiation of their obligations under the Contracts
 19   constitutes an anticipatory breach.
 20         49.    This threatened future breach has caused Lucent substantial damages
 21   in the principle sum of not less than $1,663,112, representing the contract price of
 22   the power chargers Defendants ordered.
 23         50.    Lucent is entitled to interest on the foregoing amount and to such
 24   additional sums to be determined at trial as Lucent may be required to incur as a
 25   proximate cause of Defendants’ anticipatory breach.
 26
 27
 28
      COMPLAINT FOR BREACH                     -11-
      OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 13 of 19 Page ID #:13



  1                                      COUNT III
  2                                  (Promissory Estoppel)

  3         51.     Lucent incorporates by reference each and every allegation set forth in

  4   the preceding paragraphs as though fully set forth herein.

  5         52.     From January 2017 to May 2018, Defendants issued a total of 77

  6   purchase orders to Lucent, representing that if Lucent shipped the power chargers to

  7   Defendants, Defendants would render payment for such products within 60 days

  8   after delivery. Defendants further agreed to a payment plan for past due invoices

  9   on shipments already made.

 10         53.     In so representing, Defendants knew or should have known that Lucent

 11   would be reasonably induced to rely upon those representations and expend

 12   significant time and resources to deliver the goods to Defendants.

 13         54.     Lucent did rely on the above representations to its detriment, and

 14   manufactured and shipped power chargers of $2,408,289 in value. Having received

 15   and accepted the goods, Defendants failed to pay for them.

 16         55.     Lucent also relied on Defendants’ representations to its detriment, and

 17   manufactured power chargers of $1,663,112 in value. Because these power

 18   chargers were customized pursuant to Defendants’ specifications (printing their

 19   logo on the products), Lucent is not able to re-sell them to others to mitigate its

 20   damages.

 21         56.     As a direct and proximate cause of Technocel’s conduct, Lucent has

 22   been damaged and continues to suffer damages in an amount of at least $4,506,381.

 23         57.     Injustice can be avoided only by enforcing Defendants’ promise to pay

 24   for all of the power chargers shipped to, and accepted by, Defendants, and

 25   enforcing TYLT’s promise to purchase the remaining power chargers at the agreed

 26   upon price.

 27
 28
      COMPLAINT FOR BREACH                      -12-
      OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 14 of 19 Page ID #:14



  1                                        COUNT IV
  2                                    (Unjust Enrichment)

  3         58.      Lucent incorporates by reference each and every allegation set forth in

  4   the preceding paragraphs as though fully set forth herein.

  5         59.      At Defendants’ request, Lucent manufactured and delivered power

  6   chargers of $2,408,289 in value to Defendants, which Lucent accepted, and

  7   manufactured to fulfill Defendants’ orders.

  8         60.      On information and belief, Defendants resold the shipped power

  9   chargers to its customers, and received payment from those customers.

 10         61.      Defendants have not paid Lucent for the power chargers it has

 11   manufactured, including those already shipped to and received by Technocel,

 12   despite repeated requests for payment and efforts that established a payment plan.

 13         62.      Defendants have been unjustly enriched by the power chargers Lucent

 14   manufactured and shipped to Defendants, for which Defendants did not pay.

 15         63.      As a direct and proximate cause of Defendants’ conduct, Defendants

 16   have been unjustly enriched and Lucent harmed in an amount to be proven at trial.

 17                                         COUNT V
 18                        (Fraudulent Misrepresentation & Inducement)

 19         64.      Lucent incorporates by reference each and every allegation set forth in

 20   the preceding paragraphs as though fully set forth herein.

 21         65.      As described herein, Defendants ordered from Lucent the power

 22   chargers of $4,506,381 in value, and agreed to pay this amount.

 23         66.      Defendants made false representations of material facts and/or

 24   concealed material facts in connection with the order and/or acceptance of the

 25   power chargers, including, among others:

 26         • Repeatedly misrepresenting that Technocel and TYLT would pay for the

 27               power chargers within sixty days of delivery when they had no intent to

 28               do so;
      COMPLAINT FOR BREACH                      -13-
      OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 15 of 19 Page ID #:15



  1         • Repeatedly requesting that Lucent continue shipping products while
  2               suppressing the fact that Defendants had no intention of paying for them;
  3         • Misrepresenting material facts that Technocel was going through
  4               bankruptcy while no bankruptcy was filed for Technocel.
  5         • Concealing material facts from Lucent that TYLT was formed as a
  6               vehicle to avoid Technocel’s liabilities to pay Lucent;
  7         • Misrepresenting that Technocel had no assets to pay Lucent’s invoices
  8               while concealing Technocel’s fraudulent transfer of its assets to TYLT;
  9         • Repeatedly misrepresenting that Technocel and TYLT would make
 10               payments for the power chargers according to an agreed payment plan
 11               when in fact neither intended to do so; and
 12         • Misrepresenting that Mr. Rostami would personally make a payment of
 13               $700,000 towards Lucent’s invoices to Technocel from his family’s funds
 14               when he had no intention to do so.
 15         67.      On information and belief, Defendants knew these misrepresentations,
 16   omissions, and concealment of material facts were false, or at a minimum, acted
 17   recklessly as to the truth or falsity of the representations.
 18         68.      On information and belief, Defendants intentionally or recklessly made
 19   the misrepresentations, omissions, and concealment for the purpose of inducing
 20   Lucent to continue manufacturing and shipping power chargers to Defendants, and
 21   to purposefully delay making payments to Lucent.
 22         69.      On information and belief, Defendants intended for Lucent to rely on
 23   the misrepresentations, omissions, and concealment.
 24         70.      Lucent reasonably and justifiably relied to its detriment on
 25   Defendants’ misrepresentations, omissions, and concealment, by, for example,
 26   continuing manufacture and shipping of the power chargers to Defendants.
 27         71.      As a direct and proximate result of the fraudulent inducement and
 28   misrepresentations, omissions, and concealment described herein, Lucent has
      COMPLAINT FOR BREACH                   -14-
      OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 16 of 19 Page ID #:16



  1   suffered, and will continue to suffer, irreparable harm and injury including, but not
  2   limited to, substantial losses in revenue, loss of profits, discredit to its business
  3   reputation and loss of goodwill, loss of business relations with existing and future
  4   business prospects and loss of competitive business advantage, opportunity and/or
  5   expectancy.
  6         72.     In the alternative, and/or in addition to the irreparable injury described
  7   herein, as a direct and proximate result of the conduct described above, Lucent has
  8   suffered and will continue to suffer damages in an amount to be proven at trial, and
  9   is entitled to recover these damages from Defendants.
 10         73.     Further, to the extent Defendants’ actions were done knowingly,
 11   intentionally, willfully, wantonly, maliciously and/or recklessly, Lucent is entitled
 12   to an award of exemplary or punitive damages.
 13                                        COUNT VI
 14                               (Negligent Misrepresentation)
 15         74.     Lucent incorporates by reference each and every allegation set forth in
 16   the preceding paragraphs as though fully set forth herein.
 17         75.     On information and belief, Defendants intended for Lucent to rely on
 18   the misrepresentation, omissions, and concealment.
 19         76.     Lucent reasonably and justifiably relied to its detriment on the
 20   misrepresentations, omissions, and concealment of Defendants. As a direct and
 21   proximate result of Defendants’ representations, omissions, and concealment
 22   described herein, Lucent has suffered, and will continue to suffer, irreparable harm
 23   and injury including, but not limited to, substantial losses in revenue, loss of profits,
 24   discredit to its business reputation and loss of goodwill, loss of business relations
 25   with existing and future business prospects and loss of competitive business
 26   advantage, opportunity and/or expectancy.
 27         77.     In the alternative, and/or in addition to the irreparable injury described
 28   herein, as a direct and proximate result of the conduct described above, Lucent has
      COMPLAINT FOR BREACH                       -15-
      OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 17 of 19 Page ID #:17



  1   suffered and sill continues to suffer damages in an amount to be proven at trial, and
  2   is entitled to recover these damages from Defendants.
  3                                  COUNT VII
  4     (Fraudulent Transfer under Civil Code section 3439.02, 3439.04 & 3439.05)
  5         78.    Lucent incorporates by reference each and every allegation set forth in
  6   the preceding paragraphs as though fully set forth herein.
  7         79.    On the dates on which Technocel transferred assets to TYLT through
  8   ISG, Technocel was insolvent as defined by Civil Code section 3439.02(a) in that
  9   the total of Technocel’s outstanding, matured debt obligations had, for several
 10   months, far exceeded its assets.
 11         80.    Technocel transferred assets to TYLT through ISG without receiving a
 12   reasonably equivalent value in exchange for the transfer or obligation, and that
 13   TYLT was engaged in a business for which its remaining assets were unreasonably
 14   small in relation to the business or transaction.
 15         81.    In making the foregoing transfers, Defendants had the actual intent to
 16   hinder, delay, or defraud Lucent from collecting on its lawful debts, as prescribed
 17   under Civil Code section 3439.04. Mr. Rostami through TYLT effectively retained
 18   possession or control of the property transferred after the transfer.
 19         82.    At all times mentioned herein, Defendants knew that Lucent’s claim
 20   could only be satisfied, albeit partially, out of the funds and assets Technocel
 21   transferred away. Notwithstanding this knowledge, Defendants intentionally,
 22   willfully, fraudulently and maliciously did things alleged herein to defraud and
 23   oppress Lucent.
 24         83.    As a direct and proximate result of the wrongful acts herein alleged,
 25   Lucent has been damaged in that Technocel was emptied of assets to attach.
 26         84.    Lucent is entitled to void all the money and asset transfers made by
 27   Technocel to TYLT under at least Civil Code section 3439.04 and 3439.05, and
 28   Lucent is entitled to exemplary and punitive damages.
      COMPLAINT FOR BREACH                      -16-
      OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 18 of 19 Page ID #:18



  1                                PRAYER FOR RELIEF
  2         WHEREFORE, Plaintiff respectfully requests the Court to enter judgment in
  3   its favor and against Defendants as follows:
  4         1.     That Mr. Rostami and TYLT are alter egos of Technocel, and that Mr.
  5   Rostami, TYLT and Does 1-10 are liable for Technocel’s and TYLT’s acts and
  6   omissions and thus all of the claims asserted against Technocel herein;
  7         2.     That Mr. Rostami is alter ego of TYLT, and that Mr. Rostami and
  8   Does 1-10 are liable for TYLT’s acts and omissions and thus all of the claims
  9   asserted against TYLT herein;
 10         3.     That Defendants have breached the Contracts as pled in Count I;
 11         4.     That Defendants have anticipatorily breached the Contracts as pled in
 12   Count II;
 13         5.     That Defendants be liable for promissory estoppel as pled in Count III;
 14         6.     That Defendants have been unjustly enriched as pled in Count IV;
 15         7.     That Defendants have fraudulently misrepresented and induced Lucent
 16   as pled in Count V;
 17         8.     That Defendants have negligently misrepresented to Lucent as pled in
 18   Count VI;
 19         9.     That Defendants have fraudulently transferred Technocel’s assets to
 20   TYLT as pled in Count VII;
 21         10.    That Lucent be awarded all damages incurred by Lucent, including but
 22   not limited to $4,506,381 because of Defendants’ activities and conduct alleged
 23   herein in connection with this action;
 24         11.    That Lucent be awarded exemplary and punitive damages;
 25         12.    That Lucent be awarded pre-judgment and post-judgment interest on
 26   all damages award;
 27         13.    That Lucent be awarded costs and reasonable attorneys’ fees incurred
 28   in connection with this action;
      COMPLAINT FOR BREACH                     -17-
      OF CONTRACT
Case 2:18-cv-08638-FMO-KS Document 1 Filed 10/08/18 Page 19 of 19 Page ID #:19



  1         14.    That the money and asset transfers from Technocel to TYLT be set
  2   aside; and that Lucent recover all interests and profits derived from such transfers,
  3   as ill-gotten gains;
  4         15.    That Mr. Rostami, TYLT, and Does 1-10 be preliminarily and
  5   permanently enjoined from further disposing or dissipating any of the moneys and
  6   assets transferred to them from Technocel;
  7         16.    That Lucent be awarded a full accounting of the damages above,
  8   including for past damages and any continuing or future damages; and
  9         17.    That Lucent be awarded such other and further relief as the court may
 10   deem just and proper.
 11
      DATED: October 8, 2018                          PERKINS COIE LLP
 12
 13                                                   By: /s/ John P. Schnurer
                                                         John P. Schnurer, Bar No. 185725
 14                                                      JSchnurer@perkinscoie.com
                                                         Yun (Louise) Lu, Bar No. 253114
 15                                                      LLu@perkinscoie.com
 16                                                   Attorneys for Plaintiff
                                                      LUCENT ELECTRONIC CO., INC.
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      COMPLAINT FOR BREACH                     -18-
      OF CONTRACT
